                                  UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF WASHINGTON

 In re: Brenda Kathleen Shinaul                             Case No.

                                                            CHAPTER 13 PLAN

                                                            _X_Original __Amended

                                 Debtor(s).



 I.     Disclosure of Nonstandard Provisions and Plan’s Modification of Secured Debt:
      A. Does this plan contain any nonstandard provisions (check one)?
      _x_ Yes
      ___ No
      B. Does this plan limit the amount of a secured claim based on a valuation of the collateral for the claim
      (check one)?
      ___ Yes
      _x_ No
      C. Does this plan avoid a security interest or lien (check one)?
      ___ Yes
      _x_ No
 If the Debtor has either not indicated “yes” in the applicable section above or made no selection, any nonstandard
 provision or language in this plan purporting to limit the amount of a secured claim based on a valuation of the
 collateral or to avoid a security interest or lien is void. Even if the Debtor indicated “no” in Section 1.B or Section
 1.C, the Debtor may seek to limit the amount of a secured claim based on a valuation of the collateral for the claim
 or avoid a security interest or lien through a motion or an adversary proceeding.

 II.   Means Test Result and Plan Duration:
 The Debtor is (check one):
 _____ a below median income debtor with a 36 month applicable commitment period.
 __x__ an above median income debtor with a 60 month applicable commitment period.

 The plan’s length shall not be less than the Debtor’s applicable commitment period unless the plan either provides
 for payment in full of allowed unsecured claims over a shorter period or is modified post-confirmation. If the
 Debtor is below median income, then the plan’s length shall automatically be extended up to 60 months after the
 first payment is due if necessary to complete the plan.

 III. Plan Payments to the Trustee:
 No later than 30 days after the order for relief, the Debtor shall commence making payments to the Trustee as
 follows:
      A. AMOUNT: $ _3220_
      B. FREQUENCY (check one):
      _x_Monthly
      ___Twice per month
      ___Every two weeks
      ___Weekly
      C. TAX REFUNDS: The Debtor (check one):
      ___commits all tax refunds to funding the plan. Committed refunds shall be paid in addition to the plan
           payment amount stated above.
      _x_does not commit all tax refunds to funding the plan.
      If no selection is made, tax refunds are committed.
      D. PAYMENTS: Plan payments shall be deducted from the Debtor’s wages unless otherwise agreed to
           by the Trustee or ordered by the Court.
      E. OTHER: ________________________________________




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 IV. Distribution of Plan Payments by the Trustee:
 Upon confirmation of the plan, the Trustee shall disburse funds received in the following order and creditors
 shall apply them accordingly, provided that disbursements for domestic support obligations and federal taxes
 shall be applied according to applicable non-bankruptcy law:
      A. ADMINISTRATIVE EXPENSES:
           1. Trustee: The percentage set pursuant to 28 U.S.C. § 586(e).
           2. Other administrative expenses: As allowed pursuant to 11 U.S.C. §§ 507(a)(2) or 707(b).
           3. The Debtor’s Attorney's Fees: Pre-confirmation attorney’s fees and/or costs and expenses are
           estimated to be $_4000_. $_600_ was paid prior to filing.
           Approved attorney compensation shall be paid as follows (check one):
           _x__ Prior to all creditors.
           ____ Monthly payments of $______.
           ____All remaining funds available after designated monthly payments to the following
           creditors:___________________________________________________________________.
           ____ Other: _____________________________________________________________.
           If no selection is made, approved compensation will be paid after the monthly payments specified in
           Sections IV.B and IV.C.

     B. CURRENT DOMESTIC SUPPORT OBLIGATIONS:

                   Creditor                        Monthly Amount
                   _________________               $______
                   _________________               $______

     C. SECURED CLAIMS: Only creditors holding allowed secured claims specified below or provided in
     Section X will receive payment from the Trustee. Unless ranked otherwise, payments to secured
     creditors will be disbursed at the same level. Secured creditors shall retain their liens until the earlier of
     payment of the underlying debt, determined under nonbankruptcy law, or discharge under 11 U.S.C. §
     1328. Secured creditors shall not assess any late charges, provided payments from the plan to the
     secured creditor are current, subject to the creditor’s rights under state law if the case is dismissed.

     The interest rates in the plan control except that (a) a lower interest rate included in a creditor’s proof of
     claim shall control; and (b) the interest rate included in a creditor’s proof of claim for a claim secured by
     a mortgage or deed of trust on real property shall control, unless otherwise provided in Section X or
     ordered following an objection to a proof of claim or in an adversary proceeding. If the interest rate is
     left blank, the interest rate shall be 12% except that the interest rate for arrearages on claims secured by a
     mortgage or deed of trust on real property shall be 0%.

     For claims secured by personal property, the monthly payment amounts in the plan control.

     For claims secured by real property, the monthly payment amounts in the creditor’s proof of claim and
     notice of payment change control unless otherwise provided in Section X.

     If overall plan payments are sufficient, the Trustee may increase or decrease post-petition installments for
     ongoing mortgage payments, homeowner’s dues and/or real property tax holding accounts based on
     changes in interest rates, escrow amounts, dues and/or property taxes.

          1. Payments on Claims, or Non-Escrowed Postpetition Property Tax Holding Accounts, Secured
     Only by Security Interest in the Debtor’s Principal Residence (Interest included in payments at contract
     rate, if applicable):

 Ongoing Payments:
       Monthly
 Rank Payment                     Creditor                   Collateral
 _1_   $_1880.50_                 _PHH Mortgage Svcs         _Residence________
 ____ $______                     _________________         ____________________
 ____ $______                     _________________         ____________________

 Cure Payments:
        Monthly                                                                     Arrears to be      Interest

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 Rank Payment          Creditor                    Collateral                      Cured             Rate
 _3_  $_760_           _PHH Mortgage Svcs_         _Residence_______               $_45,600_         _0_%
 ____ $______          _________________           ____________________            $_______          ___%

         2. Payments on Claims, or Non-Escrowed Postpetition Property Tax Holding Accounts, Secured
     by Real Property Other than the Debtor’s Principal Residence:

 Ongoing Payments:
       Monthly                                                                                     Interest
 Rank Payment          Creditor                    Collateral                                      Rate
 ____ $______          _________________           ____________________                            ___%
 ____ $______          _________________           ____________________                            ___%
 ____ $______          _________________           ____________________                            ___%

 Cure Payments:
        Monthly                                                                    Arrears to be     Interest
 Rank Payment          Creditor                    Collateral                      Cured             Rate
 ____ $______          _________________           ____________________            $_______          ___%
 ____ $______          _________________           ____________________            $_______          ___%
 ____ $______          _________________           ____________________            $_______          ___%

          3.   Payments on Claims Secured by Personal Property:

               a. 910 Collateral:
 The Trustee shall pay the contract balance stated in the allowed proof of claim for a purchase-money security
 interest in any motor vehicle acquired for the personal use of the Debtor within 910 days preceding the filing
 date of the petition or in other personal property acquired within one year preceding the filing date of the
 petition as specified below. The Debtor stipulates that pre-confirmation adequate protection payments shall
 be paid by the Trustee in the amounts stated as the “Pre-Confirmation Adequate Protection Monthly
 Payment” or, if blank, in the amounts stated as the “Monthly Payment” as specified below after the creditor
 files a proof of claim.
                                                                            Pre-Confirmation
          Monthly                                                           Adequate Protection Interest
 Rank Payment Creditor                        Collateral                    Monthly Payment        Rate
 _2__ $_300_           Hyundai Motor Fin._ ’18 Hyundai Santa Fe_            $_50.00__              _5_%
 ____ $______ ______________                  _________________             $_______               ___%

              b. Non-910 Collateral:
 The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise provided in Section
 X or ordered following a timely objection to a proof of claim or in an adversary proceeding, for a security
 interest in personal property which is non-910 collateral. The Debtor stipulates that pre-confirmation
 adequate protection payments shall be paid by the Trustee in the amounts stated as the “Pre-Confirmation
 Adequate Protection Monthly Payment” or, if blank, in the amounts stated as the “Monthly Payment” as
 specified below after the creditor files a proof of claim.
                                            Debtor’s                            Pre-Confirmation
          Monthly                           Value of                            Adequate Protection Interest
 Rank Payment           Creditor            Collateral Collateral               Monthly Payment          Rate
 ____ $______ ______________                  $_______ _____________            $_______              ___%
 ____ $______ ______________                  $_______ _____________            $_______              ___%
 ____ $______ ______________                  $_______ _____________            $_______              ___%


     D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to
     priority in the order stated in 11 U.S.C. § 507(a).


     E. NONPRIORITY UNSECURED CLAIMS: No funds shall be paid to nonpriority unsecured creditors
     until all secured, administrative and priority unsecured creditors are paid in full, provided that no claim
     shall be paid before it is due. The Trustee shall pay filed and allowed nonpriority unsecured claims as
     follows (check one):


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     ____ 100%
     _x_ At least $ __1200__.

     The Trustee shall pay the following specially classified nonpriority unsecured claims prior to other
     nonpriority unsecured claims:
                                       Amount of           Percentage       Reason for Special
     Rank       Creditor               Claim               To be Paid       Classification
     ____       _____________          $_________          ________%        __________________
     ____       _____________          $_________          ________%        __________________


 V.    Direct Payments to be made by the Debtor and not by the Trustee:
 The following claims shall be paid directly by the Debtor according to the terms of the contract or support or
 withholding order, and shall receive no payments from the Trustee. (Payment stated shall not bind any party.)

     A. DIRECT PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:

 Creditor                   Current Monthly Support Obligation            Monthly Arrearage Payment
 _____________              $_____________                                $______________
 _____________              $_____________                                $______________

     B. OTHER DIRECT PAYMENTS:

 Creditor                   Nature of Debt                       Amount of Claim             Monthly Payment
 _____________              _____________________                $_____________              $______________
 _____________              _____________________                $_____________              $______________

 VI. Secured Property Surrendered:
 The secured property described below will be surrendered to the following named creditors on confirmation.
 The Debtor requests that upon confirmation, each creditor (including successors and assigns) to which the
 Debtor is surrendering property pursuant to this section be granted relief from the stays of 11 U.S.C. §§
 362(a) and 1301(a) to enforce its security interest against the property including taking possession and sale.

          Creditor                                                    Property to be Surrendered



 VII. Executory Contracts and Leases:
 The Debtor will assume or reject executory contracts or unexpired leases as specified below. Assumption will
 be by separate motion and order, and any cure and/or continuing payments will be paid directly by the Debtor
 under Section V, unless otherwise specified in the plan. Any executory contract or unexpired lease not
 assumed pursuant to 11 U.S.C § 365(d) is rejected. If rejected, upon confirmation the creditor is granted relief
 from the stays of 11 U.S.C. §§ 362(a) and 1301(a) with respect to the property which is the subject of the
 rejected contract or lease, and any allowed unsecured claim for damages shall be paid under Section IV.E.

         Contract/Lease                                               Assumed or Rejected


 VIII. Property of the Estate:
 Property of the estate is defined in 11 U.S.C. § 1306(a). Unless otherwise ordered by the Court, property of
 the estate in possession of the Debtor on the petition date shall vest in the Debtor upon confirmation.
 However, the Debtor shall not lease, sell, encumber, transfer or otherwise dispose of any interest in real
 property or personal property without the Court’s prior approval, except that the Debtor may dispose of
 unencumbered personal property with a value of $10,000 or less without the Court’s approval. Property
 (including, but not limited to, bonuses, inheritances, tax refunds or any claim) acquired by the Debtor post-
 petition shall vest in the Trustee and be property of the estate. The Debtor shall promptly notify the Trustee if
 the Debtor becomes entitled to receive a distribution of money or other property (including, but not limited to,
 bonuses, inheritances, tax refunds or any claim) with a value in excess of $2,500, unless Section X
 specifically provides for the Debtor to retain the money or property.



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 IX. Liquidation Analysis Pursuant to 11 U.S.C. § 1325(a)(4):
 The liquidation value of the estate is $_1200_. To obtain a discharge, the Debtor must pay the liquidation
 value or the total of allowed priority and nonpriority unsecured claims, whichever is less. Under 11 U.S.C.
 §§ 1325(a)(4) and 726(a)(5), interest on allowed unsecured claims under Section IV.D and IV.E shall be paid
 at the rate of _0_% per annum from the petition date (no interest shall be paid if left blank).

 X.     Nonstandard Provisions:
 All nonstandard provisions of this plan are set forth in this section and separately numbered. Any
 nonstandard provision placed elsewhere in this plan is void. Any modifications or omissions to the form plan
 not set forth in this section are void.

     1) The debtor is unable to pay all or part of the debtor’s $251,100 projected disposable income (the
        monthly disposable income shown on line 45 of Official Form B 122C-2 multiplied by the sixty
        month applicable commitment period), and instead proposes to pay to allowed nonpriority unsecured
        claims at least the amount listed in Section IV.E.


 By filing this plan, the attorney for the Debtor(s) or the Debtor(s) if not represented by an attorney certify that
 the wording and order of the provisions in this plan are identical to those contained in Local Bankruptcy
 Form 13-4, other than any nonstandard provisions included in Section X.

 __/s/ Ann Manley___                      _/s/ Brenda Shinaul_________________5/30/19______
 Attorney for Debtor(s)                   DEBTOR                                Date

 __6/3/19___________                      ____________________________________________
 Date                                     DEBTOR                             Date




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